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                                ATTACHMENT A
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                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF KENTUCKY
                                              CENTRAL DIVISION
                                                 LEXINGTON

                CRIMINAL ACTION NO. 5:19-CR-00206-KKC-EBA

                UNITED STATES OF AMERICA                                               PLAINTIFF


                V.                                            FACTUAL BASIS


                CLINTON PORTIS                                                       DEFENDANT

                                                                * * * * *

                         Defendant CLINTON PORTIS (hereinafter referred to as the "Defendant" or

                "PORTIS") agrees to plead guilty because Defendant is in fact guilty.            The

                Defendant certifies that Defendant does hereby admit that the facts set forth below

                are true, and were this case to go to trial, the United States would be able to prove

                those specific facts and others beyond a reasonable doubt, and that these facts are

                sufficient to support a plea of guilty.

                                                               FACTS


                         Between approximately December 2017 and December 2018, in the Eastern

                District of Kentucky, and elsewhere, PORTIS knowingly and willfully combined,

                conspired, confederated and agreed with Robert McCune and others to violate Title

                 18, United States Code, Section 134 7, that is, to knowingly and willfully execute a


                                                                 2
                                                                                              ,~
                                                                              Defendant's Initials~
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                 scheme and artifice to defraud the Gene Upshaw NFL Player Health Reimbursement

                 Account Plan, a healthcare benefit program affecting commerce, as defined in Title

                 18, United States Code, Section 24(b ), and to obtain, by means of false or fraudulent

                 pretenses, representations, and promises, money and property owned by, and under

                 the custody of, said health care benefit program, in connection with the delivery of

                 and payment for health care benefits, items, and services, in violation of Title 18,

                 United States Code, Section 1349.


                         PORTIS was a vested member of the Gene Upshaw NFL Player Health

                 Reimbursement Account Plan (the "Plan"), a healthcare benefit program affecting

                 commerce, as defined in Title 18, United States Code, Section 24(b ). The Plan

                 allowed vested members to seek reimbursement for eligible health care costs. The

                 reimbursement amount available to vested members depended upon the number of

                 years the member played in the NFL.


                         PORTIS agreed with and paid Robert McCune ("McCune") to submit claims

                 to the Plan through the use of interstate wires. These claims sought reimbursements

                 for high dollar value durable medical equipment and included falsified

                prescriptions, letters of medical necessity, and invoices. PORTIS lmew the claims

                McCune submitted on his behalf were false and fraudulent or was aware of a high

                probability that that the claims McCune submitted on his behalf were false and

                 fraudulent and deliberately ignored that fact.

                                                               3
                                                                           Defendant's Initials:~
                                                                                                ~
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                         During the conspiracy, PORTIS and McCune, through the use of interstate

                wires, caused the submission of two false and fraudulent claims to the Plan under

                PORTIS's name. On or around January 2, 2018, PORTIS and McCune caused the

                submission of a claim to the Plan seeking reimbursement of $44,732.00 for a

                "Seachrist 2500 Oxygen Chamber." On or around March 8, 2018, PORTIS and

                McCune caused the submission of a claim to the Plan seeking reimbursement of

                $54,532 for a "Criome Pro Cryosauna." PORTIS was aware of a high probability

                that these claims sought reimbursement for items that were not medically necessmy

                and were not actually provided and deliberately ignored that fact. The Plan paid

                PORTIS approximately $99,264 for these claims.


                         The preceding statement is a summary, made for the purpose of providing

                the Court with a factual basis for my guilty plea to the charge against me. It does

                not include all of the facts lmown to me concerning criminal activity in which I

                engaged. I make this statement knowingly and voluntarily and because I mn in fact

                guilty of the crime charged.


                                       September 3, 2021
                         DATED this _ _ _ day of September, 2021.


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                                                                  In   DocuSlgned by:



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                                                                  ~1:,:::,:s
                CLINTON PORTIS                                     ADAM C. REEVES
                Defendant                                          Attorney for Defendant


                                                              4                                       1d
                                                                                   Defendant's Initials: l-=sd_
